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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                            Case NO. 19-24184-Civ-Cooke/Goodman

   JAMES BUCKMAN, et al.,

          Plaintiff,
   v.

   LANCASTER MORTGAGE CO., et al.,

         Defendants.
    _____________________________/

                            DEFENDANT’S MOTION TO DISMISS

          Defendant, Deutsche Bank National Trust Company as Trustee Under the Pooling
   and Servicing Agreement Series RAST 2006-8 (CSFB) (“Deutsche”), pursuant to Federal
   Rules of Civil Procedure 12(b)(6), respectfully moves this Court to dismiss Plaintiffs’
   Amended Complaint [D.E. 7] with prejudice, and in support, states as follows:
                                        INTRODUCTION
          Plaintiffs’ have filed countless lawsuits, frivolous motions, appeals and bankruptcies
   related to the property commonly described as 1977 NE 119th Road, Miami, FL 33181 (the
   “Subject Property”).    The entire basis for the instant lawsuit surrounds a state court
   foreclosure action involving the Subject Property that was filed in the Circuit Court in and for
   Miami-Dade County, case number 2007-CA-018226 (“Foreclosure Action”) and what
   Plaintiffs describe as an “unsigned fake Note and Mortgage dated October 20, 2005.”
   Although not parties to the Foreclosure Action, both Plaintiffs, Maurice Symonette and
   James Buckman, Jr. are listed on the case docket for the Foreclosure Action as “Interested
   Parties” based on the countless appearances by Plaintiffs and the various documents field in
   the Foreclosure Action by Plaintiffs. Plaintiffs and the defendants named in the Foreclosure
   Action have spent well over ten (10) years asserting frivolous challenges to Deutsche’s
   Foreclosure Action in the form of frivolous filings, appeals, bankruptcies and collateral
   lawsuits. Plaintiff, Maurice Symonette has held himself out to be the “mastermind” or driving
   force behind the significant delay that has been created in connection with Deutsche’s

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   Foreclosure Action. Plaintiffs are also pursuing identical claims to those asserted in this case
   in the Circuit Court in and for the Eleventh Judicial Circuit in and for Miami-Dade County
   in case number 2019-CA-30415. A copy of Plaintiffs’ Complaint in that action is attached
   hereto as Exhibit “A”.
          Ultimately, the instant lawsuit fails because Final Judgment of Foreclosure was
   entered in the Foreclosure Action on April 29, 2008. Although Plaintiffs and the defendants
   named in the Foreclosure Action have attempted to challenge the Final Judgment in the form
   of frivolous motions, appeals and collateral lawsuits, every court has rejected these challenges
   as frivolous. The Amended Complaint should also be dismissed as a shotgun pleading.
   Specifically, Plaintiffs’ Amended Complaint intermingles allegations as to all named
   Defendants and fails to identify the parties that each of the eleven counts are directed at, fails
   to plead with particularity and simply hurls legal conclusions that do not meet the pleading
   standards of this or any other Court. This matter should also be dismissed with prejudice
   pursuant to the doctrine of Rooker-Feldman. Even if these basis for dismissal did not exist,
   each of the causes of action asserted fail to state a cause of action upon which relief can be
   granted. As such, Deutsche requests that the instant lawsuit is dismissed with prejudice.
                      FACTUAL AND PROCEDURAL BACKGROUND

          On June 18, 2007 Deutsche filed its foreclosure Complaint in the Circuit Court of the
   Eleventh Judicial Circuit in and for Miami-Dade County, which sought to foreclose a
   mortgage on real property. On March 31, 2008, Deutsche proceeded to file a Motion for
   Summary Judgment, which sought the entry of a final judgment of foreclosure. On April 29,
   2008, the state court held a hearing on Deutsche’s Motion for Summary Judgment and
   proceeded to enter a final judgment in favor of Deutsche. Further, the state court set a
   foreclosure sale of the subject property for June 12, 2008. Subsequently, Plaintiff’s Maurice
   Symonette and James Buckman led the defendants in the Foreclosure Action to file countless
   motions, appeals, collateral lawsuits and bankruptcies to prevent the Subject Property from
   going to foreclosure sale and challenging the final judgment of foreclosure that was entered.
          Ultimately, on June 22, 2017 the foreclosure sale proceeded and Deutsche was the
   highest bidder so a Certificate of Sale was issued on June 27, 2017. On June 30, 2017
   defendants proceeded to file an Objection to Sale and Demand for Evidentiary Hearing. The
   basis for the objection was that Deutsche did not have standing and the sale price was

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   inadequate. On July 11, 2017 Deutsche filed a Motion to Strike defendants’ Objection to Sale
   and Demand for Evidentiary Hearing. On August 17, 2017 defendants filed an Amended
   Objection to Sale and Demand for Evidentiary Hearing. Subsequently, a hearing was held
   and the state court entered an order denying/overruling the Amended Objection to the
   foreclosure sale, which reflected that no future objections to the sale would be heard by the
   court.
            In response, on September 1, 2017 defendants proceeded to file a Notice of Appeal in
   relation to the state court’s denial of their objection to the foreclosure sale and the appellate
   court later affirmed the trial court. On September 28, 2017 Certificate of Title was issued to
   Deutsche. On January 12, 2018 Deutsche filed a Motion for Order Directing the Clerk to
   Issue an Amended Certificate of Title on the basis that Certificate of Title that was previously
   issued contained an error in its name, which the trial court granted. On March 21, 2019 the
   state court entered an order directing the clerk of court to issue a writ of possession. On the
   same day, Plaintiff, Maurice Symonette filed an Emergency Motion to Stop Illegal Eviction
   and on March 26, 2019 the state court entered an order denying the emergency motion. In
   response, on April 19, 2019 defendants noticed an appeal of the state court’s denial of the
   Emergency Motion to Stop Illegal Eviction. Similarly, on April 26, 2019 Plaintiff, Maurice
   Symonette noticed an appeal of the state court’s denial of the Emergency Motion to Stop
   Illegal Eviction. Deutsche filed a motion to dismiss the appeal noticed by Plaintiff, Maurice
   Symonette and on June 6, 2019 the appellate court granted Deutsche’s motion and dismissed
   the appeal. Although the state court directed the clerk of court to issue a writ of possession,
   when the Miami-Dade County Sheriff’s office went to execute the writ, parties occupying the
   Subject Property provided documentation reflecting that defendant, Mack Wells had
   commenced a new bankruptcy proceeding. In response, Deutsche filed a Motion for Relief
   from Stay with the bankruptcy court, which included a request for the court to find that the
   bankruptcy was part of a scheme to hinder and delay the state court foreclosure action. The
   bankruptcy court held a hearing and issued an order finding that the bankruptcy filing was in
   fact part of a scheme to hinder and delay the state court foreclosure action. Subsequently, the
   writ of possession was executed on and Deutsche took possession of the Subject Property.
            As outlined by the above, Plaintiffs and the defendants in the state court Foreclosure
   Action have filed countless frivolous bankruptcies, appeals and motions to create delay and

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   to prevent the Foreclosure Action from being finalized and to prevent Deutsche from taking
   possession. Although not parties to the state court foreclosure action, Plaintiffs, Maurice
   Symonette and James Buckman have been the driving force in challenging the Foreclosure
   Action and have been heavily involved in the litigation.
          The case at bar meanders its way through eleven causes of action: (1) quiet title; (2)
   slander of title; (3) violation of Fla. Stat. §559.715; (4) unjust enrichment; (5) violation of 12
   U.S.C. 2605; (6) violation of Fla. Stat. § 697.10; (7) fraud and concealment; (8) Violation of
   Fla. Stat. §45.031(8); (9) violation of timely assignment; (10) lack of consideration; (11)
   Violation of GAAP FASB FAS 140 Rule as governed bye the SEC and the United States
   Department of the Treasury. As will be discussed, Plaintiff’s Amended Complaint fails on
   the merits due to the finality of the state foreclosure action, procedurally due to the obvious
   shotgun pleading and fails to state any of the purported causes of action and, therefore, should
   be dismissed with prejudice.
   I.     ARGUMENT

          A.      MOTION TO DISMISS STANDARD

          Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, a motion to dismiss will
   be granted if the plaintiff fails to state a claim for which relief can be granted. To survive a
   motion to dismiss, "a complaint must contain sufficient factual matter, accepted as true, to
   'state a claim for relief that is plausible on its face.'" Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.
   Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555,
   127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)).
          "A court considering a Rule 12(b) motion is generally limited to the facts contained in
   the complaint and attached Exhibits, including documents referred to in the complaint that
   are central to the claim." Lage v. Ocwen Loan Servicing, LLC, 2015 WL 631014 (S.D. Fla. Feb.
   15, 2015). The Eleventh Circuit has held that when considering a 12(b)(6) motion to dismiss,
   a court may take judicial notice of the public record because such documents are capable of
   accurate and ready determination by resort to sources whose accuracy cannot reasonably be
   questioned. Bryant v. Avado Brands Inc., 187 F. 3d 1271, 1279-80 (11th Cir. 1999)).
          A district court need not give a plaintiff a chance to file an amendment (1) where there
   has been undue delay, bad faith, dilatory motive, or repeated failure to cure deficiencies by


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   amendments previously allowed; (2) where allowing amendment would cause undue
   prejudice to the opposing party; or (3) where amendment would be futile. See Birdette v. Saxon
   Mortg., 502 Fed. Appx. 839, 841 (11th Cir. 2012).
          B. PLAINTIFFS’ COMPLAINT IS AN INCOMPREHENSIBLE SHOTGUN PLEADING

          Plaintiff’s Complaint must be dismissed as a “shot-gun pleading.” The Eleventh
   Circuit has identified four categories of shot-gun pleadings as follows:
          The most common type [of shot-gun pleadings]—by a long shot—is a
          complaint containing multiple counts where each count adopts the allegations
          of all preceding counts, causing each successive count to carry all that came
          before and the last count to be a combination of the entire complaint. The next
          most common type, at least as far as our published opinions on the subject
          reflect, is a complaint that does not commit the mortal sin of re-alleging all
          preceding counts but is guilty of the venial sin of being replete with conclusory,
          vague, and immaterial facts not obviously connected to any particular cause of
          action. The third type of shotgun pleading is one that commits the sin of not
          separating into a different count each cause of action or claim for relief. Fourth,
          and finally, there is the relatively rare sin of asserting multiple claims against
          multiple defendants without specifying which of the defendants are responsible
          for which acts or omissions, or which of the defendants the claim is brought
          against. The unifying characteristic of all types of shotgun pleadings is that they
          fail to one degree or another, and in one way or another, to give the defendants
          adequate notice of the claims against them and the grounds upon which each
          claim rests.

          Weiland v. Palm Beach Cty. Sheriff’s Office, 792 F.3d 1313, 1322-23 (11th Cir. 2015) ; see
   also Strategic Income Fund, LLC v. Spear, Leeds & Kellogg Corp., 205 F.3d 1293, 1295 (11th Cir.
   2002) (defining a shot-gun complaint as containing “several counts, each one incorporating
   by reference the allegations of its predecessors, leading to a situation where most of the counts
   (i.e., all but the first) contain irrelevant factual allegations and legal conclusions”).
          Recently, the Eleventh Circuit addressed this very issue in Jackson v. Bank of America,
   N.A., 898 F.3d 1348 (11th Cir. 2018). In Jackson, the Eleventh Circuit reviewed a lengthy
   Report and Recommendation that dismissed sixteen counts for failing to state a cognizable
   claim. Id. at 1356. The Court affirmed the dismissal but based on the plaintiff's improper
   pleading. Id. The Court specifically found that each allegation was incorporated into each
   claim “making it nearly impossible for Defendants and the Court to determine with any
   certainty which factual allegations give rise to which claims for relief.” Id. The Court noted
   that, “in a case in which a party, plaintiff or defendant, files a shotgun pleading, the district
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   court ‘should strike the [pleading] and instruct counsel to replead the case—if counsel could
   in good faith make the representations required by Fed. R. Civ. P. 11(b).”’ Id at.
   1358, citing Byrne v. Nezhat, 261 F.3d 1075, 1133 n.113 (quoting Cramer, 117 F.3d at 1263).
          Plaintiff’s Amended Complaint in this case contains the same errors as the complaint
   in Jackson. The pleading is incoherent, indecipherable and the allegations are splattered
   indiscriminately without delineation of each Defendant.            Each count incorporates all
   paragraphs which precede it. This is particularly of concern as all of the counts do not appear
   to be directed at all Defendants.        Plaintiffs’ Amended Complaint contains numerous
   allegations referencing acts done by the “Defendants” lumping them together.                These
   references are improper as Plaintiffs fail to state allegations specific to acts alleged to be
   committed by each Defendant, including Deutsche. The Court should dismiss Plaintiffs’
   Amended Complaint as frivolous or malicious. See 28 U.S.C. § 1915(e)(2)(B); Neitzke v.
   Williams, 490 U.S. 319, 325 & 328 (1989) (holding that a complaint is “frivolous” and should
   be dismissed when the factual allegations are “fanciful,” “fantastic,” or “delusional”); Curtis,
   2017 U.S. Dist. LEXIS 220526, at *9 (“As Plaintiffs’ allegations are undeniably legally
   insufficient to create a plausible claim, they are clearly frivolous (and borderline malicious.”).
          C. ALL COUNTS ARE BARRED BY THE ROOKER-FELDMAN DOCTRINE
          Based on the allegations contained in the Amended Complaint, Plaintiffs
   impermissibly seek review of the Judgment entered by the State Court in the Foreclosure
   Action. Significantly, the Rooker-Feldman doctrine is the outgrowth of two United States
   Supreme Court cases which dictate that federal courts do not have jurisdiction to review the
   judgments and decisions of state courts. See Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923);
   District of Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983). Critically, “[t]he Rooker–
   Feldman doctrine makes clear that federal district courts cannot review state court final
   judgments because that task is reserved for state appellate courts or, as a last resort, the United
   States Supreme Court.” Casale v. Tillman, 558 F. 3d 1258, 1260 (11th Cir. 2009); see also
   Nicholson v. Shafe, 558 F. 3d 1266, 1271 (11th Cir. 2009) (federal district courts have “no
   authority to review final judgments of a state court”); Doe v. Florida Bar, 630 F. 3d 1336, 1340–
   41 (11th Cir. 2011) (where applicable, Rooker–Feldman deprives federal court of subject matter
   jurisdiction).



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          The Rooker-Feldman doctrine “is confined to cases of the kind from which the doctrine
   acquired its name: ‘cases brought by state-court losers complaining of injuries caused by state-
   court judgments rendered before the district court proceedings commenced and inviting
   district court review and rejection of those judgments.’ “ Lozman v. City of Riviera Beach, Fla.,
   713 F. 3d 1066, 1072 (11th Cir. 2013) (quoting Exxon Mobil Corp. v. Saudi Basic Indus. Corp.,
   544 U.S. 280, 284 (2005)). Thus, the Rooker-Feldman doctrine prevents a party who had an
   opportunity to contest, through the state court system, the propriety of the entry of a state
   court judgment “from seeking what in substance would be appellate review” from a federal
   district court. Johnson v. De Grandy, 512 U.S. 997, 1005-06 (1994).
          Moreover, the Rooker-Feldman doctrine not only prohibits federal district courts from
   reviewing matters actually resolved in connection with the state court judgment but also those
   claims “inextricably intertwined” with the judgment. Figueroa v. MERSCORP, Inc., 477 Fed.
   Appx. 558, 560 (11th Cir. 2012). Indeed, Rooker–Feldman analysis is a two-part inquiry: first,
   whether the state court proceedings have ended, and second, whether the plaintiff’s claims
   are “inextricably intertwined” with the state court judgment. See Velazquez v. South Fla. Fed.
   Credit Union, 546 Fed. App’x 854, 856–57 (11th Cir. 2013). More specifically, such claims lie
   outside of federal jurisdiction when they meet the requirements outlined by the Supreme
   Court in Exxon Mobil:
                 (1) [T]he federal-court plaintiff must have lost in state court; (2)
                 the plaintiff must complain of injuries caused by a state court
                 judgment; (3) the plaintiff must invite district court review and
                 rejection of that judgment; and (4) the state-court judgment must
                 have been rendered before the district court proceedings
                 commenced.

   Hoblock v. Albany County Bd. Of Elections, 422 F. 3d 77, 85 (2d Cir. 2005) (citing Exxon Mobil
   Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005)).
          Plaintiffs’ claims in this case are “inextricably intertwined” with the Foreclosure
   Action, foreclosure judgment and the proceedings related thereto. A claim is inextricably
   intertwined with a state court judgment “if it would ‘effectively nullify’ the state court
   judgment, or it ‘succeeds only to the extent that the state court wrongly decided the issues.’”
   Casale, 558 F.3d at 1260 (quoting Powell v. Powell, 80 F. 3d 464, 467 (11th Cir. 1996) and



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   Goodman ex rel. Goodman v. Sipos, 259 F.3d 1327, 1332 (11th Cir. 2001)); see also Figueroa v.
   MERSCORP, Inc., 766 F.Supp. 2d 1305, 1316 (S.D. Fla. 2011).
          Similarly, the Eleventh Circuit and many district courts within the Eleventh Circuit
   have applied Rooker–Feldman to dismiss actions where plaintiffs were, in reality, challenging
   state-foreclosure judgments. See, e.g., Parker v. Potter, 368 Fed. Appx. 945, 947–48 (11th Cir
   .2010) (rejecting under Rooker–Feldman a federal claim under the Truth in Lending Act
   (“TILA”) that sought rescission of a state foreclosure judgment); Velardo v. Fremont Inv. &
   Loan, 298 Fed. Appx. 890, 892–93 (11th Cir. 2008) (holding that appellants’ federal TILA
   claims were inextricably intertwined with a state-court foreclosure judgment and thus barred
   by Rooker–Feldman); Harper v. Chase Manhattan Bank, 138 Fed. Appx. 130, 132–33 (11th Cir.
   2005) (dismissing federal TILA, Fair Debt Collection Practices Act (“FDCPA”), and Equal
   Credit Opportunity Act (“ECOA”) claims under Rooker–Feldman because they were
   inextricably intertwined with a state-court foreclosure proceeding); AboyadeCole Bey v.
   BankAtl., No. 6:09–cv–1572–Orl–31GJK, 2010 WL 3069102, at *2 (M.D. Fla. Aug. 2, 2010)
   (finding the court had no jurisdiction to hear plaintiff’s case under Rooker–Feldman because
   the case was, “at its core,” an attempt to revisit a state-court foreclosure judgment); Distant v.
   Bayview Loan Servicing, LLC, No. 09–61460–CIV, 2010 WL 1249129, at *3 (S.D. Fla. Mar. 25,
   2010) (“Although plead as conspiracy claims ..., Plaintiff is clearly asking this Court to
   invalidate the state court action by ruling that the state court foreclosure judgment is somehow
   void. Under the Rooker–Feldman doctrine, [defendant] is correct that this Court lacks subject
   matter jurisdiction, as Plaintiff seeks a de facto appeal of a previously litigated state court
   matter.”).
          Here, Plaintiffs’ claims and alleged injuries rest upon their assertion that foreclosure
   proceedings and the judgment were improper. This Court lacks jurisdiction under the Rooker-
   Feldman doctrine because Plaintiffs’ are waging a federal court collateral attack on the state
   court foreclosure judgment that was entered in the Foreclosure Action. Plaintiffs demand
   reversal of the Foreclosure Action and damages in relation to the state court proceeding.
   These damages can only be predicated upon a finding that the final judgment entered in the
   Foreclosure Action is erroneous. Thus, Plaintiffs’ Amended Complaint is essentially a broad
   base attack on the judgment entered by the state court in the Foreclosure Action and an
   attempt to re-litigate/review the final judgment. Plaintiffs’ allegations fall squarely within the

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   province of Rooker–Feldman because they seek relief from this Court which requires adjudging
   that the Foreclosure Action and final judgment are erroneous. Because Plaintiffs cannot
   overcome the Rooker-Feldman doctrine, all counts of the lawsuit must be dismissed with
   prejudice.
        B. ALL COUNTS RAISED IN PLAINTIFFS’ AMENDED COMPLAINT FAIL TO STATE A
   CAUSE OF ACTION AND MUST BE DISMISSED WITH PREJUDICE

                  1. Count I Seeking to Quiet Title to the Subject Property Fails to State a
                     Cause of Action

          Plaintiffs’ first claim asserts a cause of action seeking to quiet title to the Subject
   Property based on alleged fraud and Plaintiffs’ political affiliation. However, Plaintiffs fail to
   identify that to state a cause of action to quiet title, a party must actually hold title to property.
   To state a claim to quiet title in Florida, Plaintiffs must not only allege plausible facts showing
   their title to the land at issue, but also plausible facts showing that a cloud on that title exists,
   identify and show what is clouding the title, and allege facts giving rise to the validity and
   invalidity of the claim. Stark v. Frayer, 67 So. 2d 237, 239 (Fla. 1953). “Not only must the
   matter which constitutes the alleged cloud be shown, but facts must be alleged which give the
   claim apparent validity as well as those which show its invalidity.” Id. See also McDaniel v.
   McElvy, 108 So. 820, 830 (1926) (“Thus, if the suit is brought to remove a particular cloud,
   the facts which show the existence—actual, apparent, or potential—of that cloud are essential
   parts of the complainant’s cause of action, and must be alleged.”).
          Plaintiffs completely fail to allege facts that support the elements required to assert a
   claim for quiet title. As outlined above, on September 28, 2017, Certificate of Title was issued
   to Deutsche in connection with the Foreclosure Action. Due to an error in Deutsche’s name
   in the Certificate of Title, an Amended Certificate of Title was issued on March 13, 2018.
   Copies of the Certificate of Title and Amended Certificate of Title are attached hereto as
   Composite Exhibit “B”. Because Deutsche holds title to the Subject Property, it is impossible
   for Plaintiff’s to satisfy the first element of stating a claim to quiet title to real property.
   Notwithstanding this, even if Plaintiffs held title to the subject property, their claim would fail
   as Plaintiffs have failed to allege plausible facts showing that a cloud on title exists. As such,
   Count I of Plaintiffs’ Amended Complaint fails to state a cause of action and must be
   dismissed.

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                  2. Count II Asserting a Claim for Slander of Title Fails to State a Cause of
                     Action

          Plaintiffs’ second cause of action attempts to assert a claim for slander of title on the
   basis that Defendants recorded documents, including, but not limited to the Notice of Default,
   Notice of Trustee’s Sale and Trustee’s Deed. The elements to state a claim for slander of title
   under Florida law are that: “(1) A falsehood; (2) has been published, or communicated to a
   third person; (3) when the defendant-publisher knows or reasonably should know that it will
   likely result in inducing others not to deal with the plaintiff; and (4) in fact, the falsehood does
   play a material and substantial part in inducing others not to deal with plaintiff; and (5) [actual
   and/or] special damages are proximately caused as a result of the published falsehood.”
   McAllister v. Breakers Seville Ass’n, Inc., 981 So. 2d 566, 573 (Fla. 4th DCA 2008). See also,
   Residential Communities of Am. V. Escondido Cmty. Ass’n, 645 So. 2d 149, 150 (Fla. 5th DCA
   1994) (applying elements). Failure to plead these elements subjects a complaint to dismissal.
   Law Offices of David J. Stern, P.A. v. SCOR Insurance Corp., 354 F.Supp.2d 1338, 1342 (S.D.
   Fla. 2005).
          First, as an initial matter, Plaintiffs do not hold title to the Subject Property so it is
   impossible for a claim for slander of title to survive. This is demonstrated by the allegations
   set forth in Plaintiffs’ Complaint and the exhibits thereto. Specifically, Paragraph 12 of
   Plaintiffs’ Complaint reflects that “[t]he property was subsequently sold pursuant to a
   foreclosure sale by Deutsche Bank National Trust on February 22, 2013” and Plaintiffs attach
   the certificate of title as Exhibit “A” to their Amended Complaint. The allegations and
   documents attached to Plaintiffs’ Amended Complaint directly negate Plaintiffs’ claims of
   slander of title, which merits dismissal.
          Furthermore, Plaintiffs have completely missed the mark on asserting facts to support
   each of the required elements to state a cause of action for slander of title. For instance,
   Plaintiffs assert that the recorded documents, such as the Notice of Default, Notice of
   Trustee’s Sale and Trustee’s Deed are the documents that support the claim for slander of
   title. However, none of these documents were ever recorded by Deutsche, Plaintiffs have
   failed to assert facts that Deutsche published anything to a third party and Plaintiffs fail to
   attach any of these documents as exhibits to their Amended Complaint. Plaintiffs fail to assert
   the alleged falsehood of these documents, where or who published them, that Deutsche was

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   aware of that publishing the documents would induce third parties not to deal with Plaintiffs
   and ultimately, that damages resulted. Furthermore,
          “Although the Court must take the allegations in a complaint as true when reviewing
   motions to dismiss, it is not permitted to read into the complaint facts that are not there.”
   Saunders v. Hunder, 980 F.Supp. 1236, 1241 (M.D. Fla. 1997). Under the facts alleged in
   Plaintiffs’ Amended Complaint and the documents attached thereto, it is impossible for
   Plaintiffs to recover under a slander of title theory, and the Amended Complaint must be
   dismissed for failure to state a claim upon which relief may be granted.
                 3. Count III Asserting a Claim for a Violation of Fla. Stat. §559.715 Fails
                    to State a Cause of Action

          Plaintiff’s third cause of action appears to assert that Deutsche violated Fla. Stat.
   §559.715 by failing to provide written notice of assignment of the debt within thirty (30) days,
   however, Plaintiffs fail to even allege what Deutsche failed to assign. Fla. Stat. §559.715
   provides:
          This part does not prohibit the assignment, by a creditor, of the right to bill and
          collect a consumer debt. However, the assignee must give the debtor written
          notice of such assignment as soon as practical after the assignment is made, but
          at least 30 days before any action to collect the debt. The assignee is a real party
          in interest and may bring an action to collect a debt that has been assigned to
          the assignee and is in default.

   (emphasis added). As a threshold matter, Plaintiffs lack standing to assert any claims
   pursuant to Fla. Stat. §559.715. As the plain language of the statute reflects, only a debtor is
   entitled to notice of the assignment of debt. Plaintiffs are not and have never alleged that they
   are debtors of Deutsche. As such, Plaintiffs’ claims completely fail.
          Furthermore, Contrary to Plaintiffs' claims, the notice requirement in Fla. Stat.
   §559.715 does not act as a condition precedent to debt collection. In Brindise v. U.S. Bank Nat.
   Ass'n, plaintiffs appealed a final foreclosure judgment due to the defendant's lack of notice of
   the mortgage assignment pursuant to Fla. Stat. §559.715. 183 So. 3d 1215, 1216 (Fla. 2d
   DCA 2016). The Second District Court of Appeals in and for Florida affirmed the final
   judgment, finding that “the notice described in Fla. Stat. §559.715 is not a condition precedent
   to foreclosure.” Id. at 1216.    The Brindise court observed that “Section 559.715 has no
   language making written notice of assignment a condition precedent to suit.” Id. at 1219. The


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   court noted that “[t]he Legislature knows how to create a condition precedent . . . [but]
   declined to be more specific when enacting section 559.715” therefore, the court refused to
   “expand the statute to include language the Legislature did not enact.” Id. Simply stated, Fla.
   Stat. §559.715 contains no condition precedent language, period. Hence, it cannot create a
   condition precedent to debt collection activities.
          Additionally, this court has previously held that section 559.715 does not create a
   private right of action. See Renfrow v. First Mortg. America, Inc., 2011 WL 2416247, *4 n.1 (S.D.
   Fla. 2011) (citing Pack v. Unifund CCR Partners, G.P., 2008 WL 686800, *2 n. 2 (M.D. Fla.
   2008)). Based on the foregoing, Plaintiffs fail to state a cause of action for a violation of Fla.
   Stat. §559.715 and as such, Plaintiffs’ Amended Complaint must be dismissed.
                  4. Count IV Asserting a Claim for Unjust Enrichment Fails to State a Cause
                     of Action

          Plaintiff’s fourth cause of action asserts that Deutsche’s pending foreclosure action on
   the Subject Property constitutes unjust enrichment. Specifically, it appears that Plaintiffs are
   arguing that Deutsche’s loan was previously satisfied and therefore, the foreclosure
   constitutes unjust enrichment. While Plaintiffs’ Amended Complaint makes non-factual and
   implausible conclusory allegations that Deutsche’s loan interest has been satisfied, Plaintiffs
   do not allege a direct relationship sufficient to state a claim for unjust enrichment. “A benefit
   that a defendant gains that does not come directly from the plaintiff does not give rise to a
   claim for unjust enrichment.” Century Senior Servs. v. Consumer Health Benefit Ass’n, Inc., 770
   F. Supp. 2d 1261, 1267 (S.D. Fla. 2011). Based on this alone, Plaintiffs’ claim for unjust
   enrichment fails.
          Even if Plaintiffs had standing to assert a claim for unjust enrichment, it would be
   barred by the applicable statute of limitations. “The statute of limitations on a claim for unjust
   enrichment is four years.” E.g. Swafford v. Schweitzer, 906 So. 2d 1194, 1195 (Fla. 4th DCA
   2005). “Under Florida law, a cause of action for unjust enrichment is extinguished unless the
   action is brought within four years after the transfer was made, regardless of when the transfer
   is ultimately discovered.” Steinberg v. A Analyst Ltd., No. 04-60898-CIV, 2009 WL 806780, at
   *10 (S.D. Fla. Mar. 26, 2009). Plaintiffs allege that that the loan was satisfied “as a result of
   proceeds of sale through securitization to private investors many times and insurance
   proceeds from credit default swaps.” Final judgment of foreclosure was entered on April 29,

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   2008, which extinguished the mortgage loan that was foreclosed. As such, any alleged unjust
   enrichment as a result of securitization would have to have occurred prior to Final judgment
   being entered. Even using the date that final judgment was entered, any claim for unjust
   enrichment would be barred by the applicable statute of limitations.
           Under Florida law, a claim for unjust enrichment has three elements: “(1) the plaintiff
   has conferred a benefit on the defendant; (2) the defendant voluntarily accepted and retained
   that benefit; and (3) the circumstances are such that it would be inequitable for the defendants
   to retain it without paying the value thereof.’” Virgilio v. Ryland Group, Inc., 680 F.3d 1329,
   1337 (11th Cir. 2012). Here, Plaintiffs don’t even attempt to establish the elements required
   to state a cause of action. Specifically, Plaintiffs fail to identify any benefit that was conferred
   on Deutsche by Plaintiffs, that Deutsche accepted the benefit and that it would be inequitable
   for Deutsche to retain the benefit. As such, Plaintiffs’ claim for unjust enrichment fails and
   must be dismissed.
                    5. Count V Asserting a Claim for a Violation of the Real Estate Settlement
                       Procedures Act Fails to State a Cause of Action

                    Plaintiff’s fifth cause of action purportedly asserts a claim for violations of the
   Real Estate Settlement Procedures Act 1. To state a RESPA claim, a plaintiff must allege facts
   to support that: (1) defendant is a loan servicer; (2) plaintiff sent defendant a request for
   information; (3) defendant failed to adequately respond within the appropriate framework;
   and (4) plaintiff is entitled to actual or statutory damages. 12 U.S.C. § 2605 (2014); see Frazile
   v. EMC Mortg. Corp., 382 F. App’x 833, 836 (11th Cir. 2010) (holding that damages allegation
   is a necessary element of any claim under § 2605).
           Courts have observed that good faith—not borrower satisfaction—is the relevant
   standard for loan servicers to meet the substance of RESPA. See Russell v. Nationstar Mortgage,
   LLC, 2015 WL 5819663, *1, *8 (S.D. Fla. Oct. 6, 2015). “Congress could not have intended
   for § 2605(e)(2) to operate in hindsight as a ‘gotcha’ – essentially enabling borrowers to tie the
   hands of loan servicers ‘by inundating a lender with qualified written requests until they
   receive a single unsatisfying response.’” Id. (quoting Banayan v. OneWest Bank F.S.B., 2012
   WL 896206, at *6-7 (S.D. Cal. March 14, 2012)).

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    Notably, Count V of Plaintiffs’ Amended Complaint references the Truth in Lending Act, but fails to cite to any
   section or how Deutsche violated the Truth in Lending Act.

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          Plaintiffs’ Amended Complaint fails because it does not assert any of the elements
   required to establish a claim pursuant to RESPA. Furthermore, Plaintiffs’ allegations are all
   based on a purported loan between Deutsche and Plaintiffs, however, Plaintiffs have never
   entered into a loan transaction with Deutsche in connection with the Subject Property.
   Plaintiffs also fail to identify how any purported violation of RESPA resulted in damage to
   Plaintiffs. As such, Count V of Plaintiffs’ Amended Complaint fails to state a cause of action
   upon which relief can be granted.
                 6. Count VI Asserting a Claim for a Violation of Fla. Stat. § 697.10 Fails
                    to State a Cause of Action

          Count VI of Plaintiffs’ Amended Complaint attempts to assert a violation of Fla. Stat.
   §697.10. This statute states that “[i]n any action relating to real property, if the court shall
   find that any person has prepared an instrument which due to an inaccurate or improper legal
   description impairs another person’s title to real property, the court may award to the
   prevailing party all costs incurred by her or him in such action, including reasonable attorney’s
   fees, and in addition thereto may be award to the prevailing party all actual damages that she
   or he may have sustained as a result of such impairment of title.” Section 697.10 creates no
   cause of action, it simply permits an award of damages, attorney’s fees and costs to any party
   that prevails on a slander or cloud of title claim. As such, Count VI of Plaintiffs’ Amended
   Complaint fails to state a cause of action and must be dismissed.




                 7. Count VII Asserting a Claim for Fraud and Concealment Pursuant to
                    Fla. Stat. §726.105(d)

          Count VII of Plaintiffs’ Amended Complaint appears to assert a claim for fraud and
   concealment pursuant to Fla. Stat. §726.105(d). The statute states that “[a] transfer made or
   obligation incurred by a debtor is fraudulent as to a creditor, whether the creditor’s claim
   arose before or after the transfer was made or the obligation was incurred, if the debtor made
   the transfer or incurred the obligation, [b]efore the transfer was made or obligation was
   incurred, the debtor had been sued or threatened with suit. The factual basis for the claim
   appears to be that “Bank filed Complaint before they owned the Note . . . Plaintiff foreclosed
   on the property before they owned it by way of making a Fraudulent Assignment and taking

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   Defendants property without having Note ownership.” First, Plaintiffs allegations make
   absolutely no sense as they reflect that “Plaintiff foreclosed”, which is factual incorrect.
   Further, the statute relied upon pertains to situations where a debtor commits fraudulent
   conduct, however, Deutsche has never been a debtor in relation to Plaintiffs and Plaintiffs fail
   to allege any facts that comport with the language of the statute. As such, Count VII of
   Plaintiffs’ Amended Complaint fails to state a cause of action.
                  8. Count VIII Asserting a Claim Related to the Foreclosure Sale of the
                     Subject Property Fails to State a Cause of Action

          Count VIII of Plaintiffs’ Amended Complaint argues that the Subject Property sold at
   the foreclosure sale for $42,000.00, which shocks the conscience pursuant to Fla. Stat.
   §45.031(8). This factual allegation about the sale price is just incorrect. On or about June 22,
   2017 Deutsche was the highest bidder at the foreclosure sale held in connection with the
   Foreclosure Action and Deutsche’s final bid amount was $888,300.00. A copy of the
   Foreclosure Sale Results is attached hereto as Exhibit “C”. An objection to the foreclosure
   sale was filed and the state court overruled the objection. Further, this exact issue was raised
   on appeal to the Third District Court of Appeals for the State of Florida in case number:
   3D18-0391 and the appellate court affirmed the lower court on all grounds. Plaintiffs are now
   asking the third separate court to issue relief in connection with this foreclosure sale.
   However, Count VIII fails to state a cause of action and should be dismissed.


                  9. Count IX Asserting a Claim for a Violation of Timely Assignment Fails
                     to State a Cause of Action

          Count IX of Plaintiffs’ Amended Complaint appears to allege that assignments were
   untimely because they were recorded after the Foreclosure Action was commenced.
   However, an assignment of mortgage is not required pursuant to the Florida Supreme Court
   ruling in the controlling authority on this issue in the case of Johns v. Gillian, 134 Fla. 575 (Fla.
   1938), “[i]f the note or other debt secured by a mortgage be transferred without any formal
   assignment of mortgage, or even a delivery of it, the mortgage in equity passes as an incident to
   the debt, unless there be some plain and clear agreement to the contrary, if that be the intention
   of the parties”; see also, WM Specialty Mortgage, LLC v. Salomon, 874 So. 2d 680 (Fla. 4th DCA
   2004) (upholding a retrospective assignment of mortgage that recited that the assignment took

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   place previous to the assignment document being signed and notarized). See also, Collins v. W.C.
   Briggs, Inc., 98 Fla. 422, 123 So. 833 (Fla. 1929); Mortgage Electronic Registration System, Inc. v.
   Revoredo, 955 So. 2d 33 (Fla. 3rd DCA 2007) (holds that MERS has standing to foreclose by
   possession of the note.) Based on this, Defendants arguments related to any assignment of
   mortgage fail as an assignment of mortgage is not required pursuant to Florida law.
          Based on this, assignments of mortgage were not required in the Foreclosure Action
   for final judgment to be entered. As such, Count IX of Plaintiffs’ Complaint fails to state a
   cause of action.
                  10. Count X Asserting that there was a Lack of Consideration Fails to state
                      a Cause of Action

          Count X of Plaintiffs’ Amended Complaint alleges that there was a lack of
   consideration, but it’s not clear what Plaintiffs are referring to. Plaintiffs’ state that “Florida
   Contract (Mail Box Law) (4) says you must in order to consummate a contract or an
   assignment you must give consideration money.” Count X of Plaintiffs Amended Complaint
   in barely legible and makes absolutely no sense. As outlined above, Plaintiffs failed to identify
   which counts are directed at each individual defendant and as such, it is impossible to
   decipher exactly what Plaintiffs are asserting. As such, Count X fails to state a cause of action
   and must be dismissed.


                  11. Count XI Asserting a Claim for a Violation of GAAP FASB FAS 140
                      Rule Fails to State a Cause of Action

          County XI of Plaintiffs’ Amended Complaint alleges a violation of GAAP FASB FAS
   140 Rule. However, similar to County X, the allegations do not reflect which defendant they
   are directed at and it is nearly impossible to decipher what Plaintiffs are alleging. As such,
   Count XI fails to state a cause of action and must be dismissed.
                                           CONCLUSION

                  For the foregoing reasons, Defendant, Deutsche Bank National Trust
   Company as Trustee Under the Pooling and Servicing Agreement Series RAST 2006-8
   (CSFB), respectfully request that the Court grant their Motion to Dismiss, dismiss Plaintiffs’
   Amended Complaint with prejudice and for such other and further relief, at law or in equity,
   to which the Court deems Defendants to be justly entitled.
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                                                       Respectfully submitted,


                                                       BLANK ROME LLP
                                                       Counsel for Defendant Deutsche Bank
                                                       500 E. Broward Blvd., Suite 2100
                                                       Ft. Lauderdale, FL 33394
                                                       Telephone: 954-512-1800
                                                       Facsimile: 954-512-1818


                                                       /s/ Daniel S. Hurtes
                                                       DANIEL S. HURTES
                                                       Florida Bar No.: 69104
                                                       DHurtes@BlankRome.com
                                                       BRFLeservice@BlankRome.com
                                                       NICOLE R. TOPPER
                                                       Florida Bar No. 558591
                                                       NTopper@BlankRome.com


                                        CERTIFICATE OF SERVICE
          I HEREBY CERTIFY on January 17, 2020, I electronically filed the foregoing
   document with the Clerk of Court using CM/ECF. I also certify that the foregoing document
   will be served upon all parties requesting electronic notice.


                                                       /s/ Daniel S. Hurtes
                                                       DANIEL S. HURTES




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